   Case 21-30589-MBK Doc 1499 Filed 02/16/22 Entered 02/16/22 14:35:27                             Desc Main
                             Document
UNITED STATES BANKRUPTCY COURT            Page 1 of 4
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-2(c)




                                                                          Order Filed on February 16, 2022
                                                                          by Clerk
                                                                          U.S. Bankruptcy Court
                                                                          District of New Jersey



In Re:                                                   Case No.:                       21-30589
 LTL Management LLC
                                                         Adv. No.:

                                                          Hearing Date:

                                                          Judge:                    Michael B. Kaplan



            ORDER CONCERNING REQUEST
                                  TO SEAL DOCUMENTS

         The relief set forth on the following pageis hereby ORDERED.




DATED: February 16, 2022
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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-1(b)
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Case 21-30589-MBK      Doc 1499     Filed 02/16/22 Entered 02/16/22 14:35:27    Desc Main
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 In re:
                                                  Chapter 11
 LTL MANAGEMENT, LLC,
                                                  Case No.: 21-30589(MBK)
                             Debtor.
                                                  Honorable Michael B. Kaplan




               ORDER CONCERNING REQUEST TO SEAL DOCUMENTS


 The relief set forth on the following page is ORDERED.




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        On request of the Official Committee of Talc Claimants I to seal the following documents,

 Report of Saul E. Burian, and the Court having considered any objection thereto, it is

     
     ‫ ܆‬ORDERED that the request is denied and the underlying document(s) shall be deleted
       from the court’s electronic filing system.


     ‫ ܆‬ORDERED that the request is granted and the document(s) shall be sealed until the
         expiration of the judiciary records retention period at which time the document will be
         permanently deleted.




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